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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
UNITED STATES OF AMERICA,
v. Criminal No. 3:19cr63 (DIN)
ANTWAIN ONEAL CARTER,
Defendant.
ORDER

(Appointing New Counsel)

This matter comes before the Court on the Response, (“Response,” ECF No. 56), filed by
former counsel for Defendant Antwain Oneal Carter (“Defendant”). On March 13, 2024, the
Court directed Defendant’s former counsel, CJA-appointed attorney Timothy George
McCormick, to acknowledge receipt of the United States Probation Office’s worksheet, (“821
Worksheet,” ECF No. 54), assessing Defendant’s eligibility for a sentence reduction pursuant to
Amendment 821 of the U.S. Sentencing Guidelines and to state his position as to reappointment.
(ECF No. 55.) That same day, Mr. McCormick filed his Response, stating that he no longer
serves on the Court’s CJA panel and therefore does not seek reappointment. (ECF No. 56.)

Accordingly, and because the Probation Office’s 821 Worksheet deemed Defendant
eligible for sentencing relief pursuant to Amendment 821, the Court hereby ORDERS the Clerk
to appoint new counsel for Defendant from the CJA panel in Richmond for the purpose of
pursuing sentencing relief pursuant to Amendment 821 of the U.S. Sentencing Guidelines.

Counsel for Defendant SHALL file a Motion to Reduce Defendant’s Sentence no later

than fifteen (15) days from appointment as Defendant’s new counsel.
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The Court hereby DIRECTS the United States Attorney’s Office to respond within fifteen
(15) days of the filing date of the counseled Motion to Reduce Sentence and to explain its
position regarding Defendant’s motion and requested relief. The Government’s time for
responding is measured from the filing of Counsel for Defendant’s Motion to Reduce Sentence.
In all instances the Government SHALL file a response stating whether it believes the Motion to
Reduce Sentence should be granted or denied and explain the grounds for its position. The

response must further provide the following information:

a. Defendant’s currently-projected date of release;

b. Status of Defendant’s educational and vocational training, if any;

c. Status of any treatment of Defendant for substance abuse or physical or mental
health;

d. Defendant’s post-sentencing conduct, including Defendant’s compliance with the

rules of the institution(s) in which Defendant has been incarcerated; and

e. Any relevant considerations of public safety.

Additionally, if the Motion to Reduce Sentence is not opposed, the Government SHALL
promptly contact the United States Probation Office, Richmond Division and notify it of this
fact, so that the Probation Office may make the appropriate arrangements.

If Defendant disagrees with the Government’s response, Defendant may reply to the

Government’s response within five (5) days of the date that the Government’s response is filed.
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No later than fifteen (15) days from the date of entry hereof, the Probation Office is
hereby DIRECTED to provide the Court with a copy of Defendant’s Presentence Report.
The Clerk is directed to send a copy of this Order to all counsel of record, to Defendant
and to the United States Probation Office, Richmond Division.
It is so ORDERED.
/s/

David J. Novak
United States District Judge

Richmond, Virginia
Dated: March 13, 2024

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